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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA



   HARVEY SULTZER AS
   REPRESENTATIVE OF THE ESTATE OF
   SANDRA SULTZER AND INDIVIDUALLY,

          PLAINTIFFS,                                    Civil Action No. 9:24-cv-80137-DMM

          v.

   INTUITIVE SURGICAL, INC.

          DEFENDANT.
                                          ________/

                                 SECOND AMENDED COMPLAINT

          1.      Plaintiffs the Estate of Sandra Sultzer and Harvey Sultzer (collectively “Plaintiffs”)

   by and through their attorneys, Searcy Denney Scarola Barnhart & Shipley, PA and Sultzer &

   Lipari, PLLC complain against Defendant Intuitive Surgical, Inc. (“Defendant” or ISI”) as follows:

                                       NATURE OF THE CASE

          2.      Plaintiffs bring this wrongful death/products liability action to redress severe personal,

   financial, and emotional injuries suffered by Sandra Sultzer and her husband Harvey when Ms. Sultzer

   experienced health complications, and ultimately died following a da Vinci surgical robot

   procedure.

                               PARTIES, JURISDICTION AND VENUE

          3.      Sandra Sultzer, the deceased, was a resident and citizen of Florida at all times

   relevant to this Complaint.

          4.      Plaintiff Harvey Sultzer is, and at all times relevant to this Complaint, was a resident

   and citizen of Florida. Mr. Sultzer brings claims herein individually and as representative of the

   Estate of Sandra Sultzer.
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          5.       ISI is a Delaware corporation with its principal place of business in Sunnyvale,

   California.

          6.       ISI designed, manufactured, tested, sold, promoted and labeled the da Vinci

   surgical robot. ISI also makes and sells numerous electrosurgical instruments used with that robot.

          7.       The Court has jurisdiction under 28 U.S.C. § 1332 because this lawsuit is between

   citizens of different states and the amount in controversy exceeds $75,000.00 exclusive of costs

   and interest.

          8.       Venue is proper in the Southern District of Florida because Defendant committed

   tortious acts within the state of Florida and the Southern District of Florida out of which acts these

   causes of action arise.

                                     FACTUAL ALLEGATIONS

          A.       Introduction

          9.       The da Vinci robot is a multi-armed, remote controlled, surgical device made by

   ISI that uses electrical energy to cut and cauterize living body tissue.

          10.      Mrs. Sultzer was diagnosed with colon cancer in June 2021.

          11.      Mrs. Sultzer had a surgery to address her colon cancer performed at Baptist Health

   Boca Raton Regional Hospital on September 14, 2021 using a da Vinci Xi Surgical System

   designed, manufactured, and distributed by ISI. During the surgery, Mrs. Sultzer experienced a

   distal duodenal thermal injury, as a result of a discharge of electrical current from instruments used

   by the da Vinci Xi Surgical System, causing a perforation which required subsequent medical

   intervention and caused permanent physical and emotional injuries, and ultimately her death.

          12.      Mrs. Sultzer’s injury and death is not unique to her. According to SEC filings, ISI

   was named as a defendant in “approximately 93 individual product liability lawsuits filed in

   various state and federal courts by plaintiffs who allege that they or a family member underwent
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   surgical procedures that utilized the da Vinci Surgical System and sustained a variety of personal

   injuries and, in some cases, death as a result of such surgery.”

          13.     ISI has also received thousands of injury and defect reports related to da Vinci

   surgeries. The most dangerous injuries arose from burns to internal organs caused by the discharge

   of electricity, caused by the robot’s instruments inside the patient. The FDA maintains a MAUDE

   database on reported adverse events, which is a public database, known to and discussed by the

   medical community. Despite the severity and multitude of reports, ISI has systematically

   underreported these injuries and their seriousness to the FDA through the MAUDE database.

          14.     Had ISI safely designed its product so that electrical energy would not burn the

   insides of patients without the knowledge or control of the operating surgeons, the small intestine

   injury to Mrs. Sultzer would not have happened, and she would not have died. Had ISI adequately

   warned Mrs. Sultzer’s surgeon about the problems and dangers associated with the product by

   accurately reporting injuries and deaths caused by the product through the MAUDE database, the

   injuries Mrs. Sultzer sustained would not have happened, and she would not have died. ISI’s da

   Vinci Xi Surgical System was defective and, therefore, unreasonably dangerous for use in Mrs.

   Sultzer’s procedure; she was unnecessarily injured and ultimately died as a result.

          B.      The Da Vinci Robot’s Instrument Insulation Problems

          15.     Literature available to ISI prior to Mrs. Sultzer’s surgery showed that the insulation

   ISI used on the da Vinci robots electrosurgical instruments was insufficient to reliably prevent

   electricity from leaking into the body and causing internal burns to patients. Upon information and

   belief, ISI failed to inform Mr. Sultzer’s hospital, physicians and healthcare providers of this

   pertinent information.

          16.     This was documented in the journal Urology on September 16, 2010; in the

   American Journal of Obstetrics and Gynecology in August 2011 (noting 80% insulation failures
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   after 10 uses, 32% of instruments suffered insulation failure before 10 uses) – though ISI tells

   hospitals that its instruments will be safe for the first 10 procedures; and in the Journal of

   Endourology in September 2011 (under sparking conditions, “thermal injury to tissue is

   instantaneous, inevitable, and severe.” Such electrosurgical injuries “are likely to be both under-

   recognized and underreported.”).

          17.     In many reported instances, the release of stray electricity, also known as “arcing”

   was associated with an instrument used by the da Vinci robot called Hot Shears Monopolar Curved

   Scissors (“Monopolar Scissors”). This instrument is used in virtually all da Vinci surgeries, is used

   with the da Vinci Xi Surgical System and was used in Mrs. Sultzer’s surgery.

          18.     On December 14, 2012, Surgical Endoscopy published an article called “Instrument

   Failures for the da Vinci Surgical System: a Food and Drug Administration MAUDE Database

   Study.” That article told of 156 separate “arcing” incidents, 125 of which involved the Monopolar

   Curved Scissors. The article further noted that these failures are often unreported, so the number

   “inherently underrepresents the true denominator of instrument errors….”

          19.     Upon information and belief, ISI failed to warn Mrs. Sultzer’s healthcare providers,

   including her surgeon, of the dangers associated with the da Vinci Xi Surgical Systems, and

   specifically the danger of arcing and thermal burns associated with the Monopolar Curved

   Scissors.

          20.     As set forth above, ISI under-reported the adverse events associated with the da

   Vinci robot to the FDA.

          21.     As a result, the MAUDE database did not contain a true representation of the

   number of injuries and deaths associated with the da Vinci surgical system.

          22.     Had the MAUDE database accurately reflected the adverse events associated with

   the da Vinci surgical system, Mrs. Sultzer’s doctor would have provided accurate risk/benefit
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   information to her as part of the informed consent process prior to her surgery and Mrs. Sultzer

   would have opted against use of the da Vinci surgical system.

          C.      Plaintiff’s Injury

          23.      Mrs. Sultzer was admitted to Baptist Health Boca Raton Regional Hospital on

   September 14, 2021 for surgery designed to treat her colon cancer. Dr. Avraham Belizon

   performed the surgery using, upon information and belief, the da Vinci Surgical System Xi with

   Monopolar Curved Scissors designed and manufactured by ISI.

          24.     During the surgery, Mrs. Sultzer experienced thermal injury to the small intestine,

   resulting in a perforation. Following the surgery, Plaintiff Harvey Sultzer was informed that Mrs.

   Sultzer’s cancer had not metastasized and had been removed. However, physicians at the hospital,

   including Dr. Belizon, also informed Mr. Sultzer that the robot used during Mrs. Sultzer’s Surgery

   had emitted an “electrical spark” causing a burn and perforation to her small intestine.

          25.     Following the surgery, Mrs. Sultzer had a feeding tube inserted and was eventually

   transferred to a rehabilitation facility. Mrs. Sultzer underwent numerous medical procedures,

   including a procedure to close (with approximately 15 sutures) the perforation, because of her

   thermal injury. She continued to have abdominal pain and suffer severe physical and mental

   distress. For the large majority of her life following the surgery, Mrs. Sultzer was confined to the

   hospital and/or a rehabilitation facility, and she was never able to eat solid foods again.

          26.     The injury suffered by Mrs. Sultzer caused her pain and emotional distress. Plaintiff

   and Mrs. Sultzer incurred the expense of medical care, hospitalization, treatment, nursing care and

   treatment, and the expense of rehabilitative care and treatment.

          27.     Mrs. Sultzer ultimately died in February of 2022 as a direct and proximate result of

   the injuries she suffered during the September 2021 da Vinci surgery.

          28.     Mrs. Sultzer’s death was the result of the thermal injury caused by a defect in the
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   insulation of the da Vinci Xi Surgical System, including the Monopolar Curved Scissors and

   or/blade.

          29.     Prior to consenting to the da Vinci surgery and because of ISI’s inadequate

   disclosures, Mrs. Sultzer was not aware that the instruments to be used for the surgery had

   insulation problems that made them more prone to causing unintended burn than traditional

   laparoscopic instruments. She was not aware that the da Vinci surgery would subject her to higher

   complication rates with no demonstrated benefit in outcome.

          30.     ISI affirmatively misrepresented both to the FDA and to the medical community,

   including plaintiff’s doctor the unique risks associated with the da Vinci Xi Surgical System. ISI

   did so by underreporting the frequency of injuries and deaths associated with da Vinci robots.

          31.     If ISI had communicated adverse events to the FDA as required by federal law,

   doing so would have effectively warned Mrs. Sultzer’s surgeon of the risks associated with da

   Vinci Vi Surgical System through the MAUDE database, which is public.

          32.     Mrs. Sultzer’s surgeon relied on ISI’s underreporting adverse incidents associated

   with the da Vinci Vi Surgical System.

          33.     Had Mrs. Sultzer’s surgeon been warned of the true frequency of the occurrence of

   injury and death associated with the da Vinci Vi Surgical System such that he could warn Plaintiff

   and Mrs. Sultzer, Mrs. Sultzer would not have agreed to surgery using the daVinci robot.

          34.     As such, ISI’s underreporting of the incidents of injury and death to the FDA were

   a direct and proximate cause of Plaintiffs’ personal and financial injuries.

                                        CLAIMS FOR RELIEF
                                                COUNT I
                                            NEGLIGENCE
          35.     Plaintiffs incorporate by reference paragraphs 1 through 40 of this Complaint as if

   fully set forth herein and further allege:

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          36.     Defendant owed Sandra Sultzer a duty to exercise reasonable care when designing,

   manufacturing, marketing, advertising, distributing, and selling the da Vinci Xi Surgical System,

   including the Monopolar Curved Scissors.

          37.     Defendant failed to exercise such reasonable care under the circumstances and

   therefore breached this duty by:

                  a. Designing, manufacturing, marketing, advertising, distributing, and selling the

                     da Vinci Xi Surgical System, including the Monopolar Curved Scissors.to

                     consumers, including Plaintiff, without adequate warnings of the significant and

                     dangerous risks of the da Vinci Xi Surgical System, including the Monopolar

                     Curved Scissors, and without proper instructions to avoid the harm which could

                     foreseeably occur as a result of using the da Vinci Xi Surgical System, including

                     the Monopolar Curved Scissor.;

                  b. Negligently continuing to manufacture, market, advertise, and distribute the da

                     Vinci Xi Surgical System, including the Monopolar Curved Scissors after

                     Defendant knew or should have known of its adverse effects.

                  c. Failing to use due care in the design of the da Vinci robot with regard to the

                     insulation and monopolar current;

                  d. Failing to conduct adequate intra-operative surveillance and post-operative

                     complication studies to determine the safety of the use of monopolar energy as it

                     relates to the da Vinci Xi Surgical System, including the Monopolar Curved

                     Scissors;

                  e. Failing to provide adequate training and information to healthcare providers for

                     the appropriate use of the da Vinci Xi Surgical System, including the

                     Monopolar Curved Scissors;
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          38.     As a direct and proximate cause of the Defendant’s negligence Sandra Sultzer

   suffered serious and permanent physical and emotional injuries.

          39.     By reason of the foregoing, Sandra Sulzer died on February 7, 2022.

          40.     As a further direct and proximate result of the Defendant’s negligence as set forth

   herein, Plaintiffs incurred expense of medical care, hospitalization, treatment, expense of nursing

   care and treatment, and expense of rehabilitative care and treatment.

                  WHEREFORE, Plaintiffs demand judgment against Defendant for compensatory and

   punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

   the Court deems just and proper.

                                        COUNT II
                            PRODUCTS LIABILITY – DESIGN DEFECT

          41.     Plaintiffs incorporate by reference paragraphs 1 through 40 of this Complaint as if

   fully set forth herein and further alleges:

          42.     At all material times, Defendant engaged in the business of selling, distributing,

   supplying, manufacturing, marketing and promoting the da Vinci robot and other ISI products that

   was defective in design, and was unreasonably dangerous to patients, including the decedent,

   Sandra Sultzer.

          43.     At all material times, Defendant sold, distributed, supplied, manufactured,

   marketed and promoted the da Vinci robot.

          44.     At all material times, ISI products were expected to and reached consumers in

   Florida, including Plaintiff, without substantial change in the condition it was sold.

          45.     At all material times, Defendant sold, distributed, supplied, manufactured,

   marketed and promoted the da Vinci robot in a defective and unreasonably dangerous condition at

   the time it was placed in the stream of commerce in ways that include:

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                  a.      Failing to test the da Vinci Robotic Xi Surgical System, including the

                          Monopolar Curved Scissors, properly and thoroughly before promoting the

                          robotic surgical platform using monopolar current to the market;

                  b.      Failing to analyze properly and thoroughly the data resulting from the

                          premarket tests of the monopolar current, and therefore obtaining FDA

                          approval of the device through fraud;

                  c.      Designing, manufacturing, marketing, advertising, distributing and

                          promoting the da Vinci Xi Surgical System, including the Monopolar

                          Curved Scissors, without adequate warnings of the significant and

                          dangerous risks of monopolar current and without proper instructions to

                          avoid the harm which was reasonably foreseeable.

          46.     Sandra Sultzer’s physician used the da Vinci Xi Surgical System, including the

   Monopolar Curved Scissors, as instructed by and certified by ISI and in the foreseeable manner

   intended.

          47.     The da Vinci Xi Surgical System was unreasonably dangerous because, as

   designed, it failed to perform safely when used by Sandra Sultzer’s physician.

          48.     The da Vinci Xi Surgical System was unreasonably dangerous because, as

   designed, the risk of serious injury posed exceeded any benefit.

          49.     At all relevant times safer, practical, cost-effective, alternative energy modalities

   existed and could have been used in the da Vinci Xi Surgery System including bipolar energy and

   ultrasonic energy that would have remedied the arcing issue that rendered the product

   unreasonably unsafe.

          50.     ISI knew or should have known of the defects described above, yet it continued to

   design, manufacture, market and promote the use of the da Vinci Surgical Xi System, including
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    the Monopolar Curved Scissors, so as to maximize sales and profits at the expense of the public

    health and safety.

           51.     Sandra Sultzer could not, through the exercise of reasonable care, have discovered

    the risk of serious injury associated with the da Vinci Surgical Xi System, including the Monopolar

    Curved Scissors.

           52.     By reason of the foregoing, Sandra Sultzer died on February 7, 2022.

                   WHEREFORE, Plaintiffs demand judgment against ISI and seek compensatory

    damages, and punitive damages together with interest, the costs of suit, attorneys’ fees, and such

    other and further relief as the Court deems just and proper.

                                      COUNT III
                     PRODUCTS LIABILITY – MANUFACTURING DEFECT

           53.     Plaintiffs incorporate by reference paragraphs 1 through 40 of this Complaint as if

    fully set forth herein and further alleges:

           54.     At all material times, Defendant engaged in the business of selling, distributing,

    supplying, manufacturing, marketing and promoting the da Vinci Xi Surgical System, including

    the Monopolar Curved Scissors, that was defective in design, and was unreasonably dangerous to

    patients, including the decedent, Sandra Sultzer.

           55.     At all material times, Defendant sold, distributed, supplied, manufactured,

    marketed and promoted the da Vinci Xi Surgical System, including the Monopolar Curved

    Scissors.

           56.     At all material times, ISI products were expected to and reached consumers in

    Florida, including Plaintiff, without substantial change in the condition it was sold.

           57.     The da Vinci Xi Surgical System, including the Monopolar Curved Scissors was

    defective and unreasonably dangerous when put to its reasonably anticipated uses.

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           58.     The defects existed when the da Vinci Xi Surgical System, including the Monopolar

    Curved Scissors was designed, manufactured, fabricated, produced, and/or distributed by

    Defendant.

           59.     As a direct and proximate result of the da Vinci Xi Surgical System’s defects and

    malfunctions, Sandra Sultzer died on February 7, 2022 and Plaintiffs incurred expense of medical

    care, hospitalization, treatment, expense of nursing care and treatment, and expense of

    rehabilitative care and treatment.

                   WHEREFORE, Plaintiffs demand judgment against ISI and seek compensatory

    damages, and punitive damages together with interest, the costs of suit, attorneys’ fees, and such

    other and further relief as the Court deems just and proper.

                                        COUNT IV
                           PRODUCTS LIABILITY – FAILURE TO WARN

           60.     Plaintiffs incorporate by reference paragraphs 1 through 40 of this Complaint as if

    fully set forth herein and further alleges:

           61.     Defendant, as a manufacturer and/or distributor of a medical device, is held to a

    level of knowledge of an expert in the field.

           62.     The da Vinci Xi Surgical System, including the Monopolar Curved Scissors, was

    defective and unreasonably dangerous when it left Defendant’s possession in that in contained

    warnings insufficient to alert consumers, including Sandra Sultzer, to the dangerous risks and

    reactions associated with da Vinci Xi Surgical System, including the Monopolar Curved Scissors.

           63.     Moreover, Defendant’s warnings were inaccurate, unclear, and/or ambiguous.

           64.     Prior to consenting to the da Vinci surgery and because of ISI’s inadequate

    disclosures, Mrs. Sultzer was not aware that the instruments to be used for the surgery had

    insulation problems that made them more prone to causing unintended burn than traditional

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    laparoscopic instruments. She was not aware that the da Vinci surgery would subject her to higher

    complication rates with no demonstrated benefit in outcome.

           65.     ISI affirmatively misrepresented both to the FDA and to the medical community,

    including plaintiff’s doctor the unique risks associated with the da Vinci Xi Surgical System,

    including the Monopolar Curved Scissors. ISI did so by underreporting the frequency of injuries

    and deaths associated with the da Vinci Xi Surgical System, including the Monopolar Curved

    Scissors.

           66.     If ISI had communicated adverse events to the FDA as required by federal law,

    doing so would have effectively warned Mrs. Sultzer and her surgeon of the risks associated with

    da Vinci Xi Surgical System, including the Monopolar Curved Scissors through the MAUDE

    database, which is public.

           67.     Mrs. Sultzer’s surgeon relied on ISI’s underreporting adverse incidents associated

    with da Vinci Xi Surgical System, including the Monopolar Curved Scissors, and was not

    independently aware of the true nature of risk of thermal injury associated with da Vinci Xi

    Surgical System, including the Monopolar Curved Scissors.

           68.     Had Mrs. Sultzer known of the true frequency of the occurrence of injury and death

    associated with the da Vinci Xi Surgical System, including the Monopolar Curved Scissors, she

    would not have agreed to surgery using the daVinci robot, and her surgeon would not have used

    the daVinci robot.

           69.     As such, ISI’s underreporting of the incidents of injury and death to the FDA were

    a direct and proximate cause of Plaintiffs’ personal and financial injuries.

           70.     By reason of the foregoing, Sandra Sultzer died on February 7, 2022.

                   WHEREFORE, Plaintiffs demand judgment against ISI and seek compensatory

   damages, and punitive damages together with interest, the costs of suit, attorneys’ fees, and such
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   other and further relief as the Court deems just and proper.

                                   DEMAND FOR TRIAL BY JURY

           Plaintiffs hereby demand a trial by jury on all counts, as to all issues, so triable.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs demands judgment against Defendant on each of the above

    referenced claims and causes of action as follows:

           1.      Awarding compensatory damages to Plaintiffs;

           2.      Awarding punitive and/or exemplary damages, in an amount to be determined at

                   trial;

           3.      Awarding Plaintiffs’ attorney’s fees;

           4.      Awarding Plaintiffs the costs of the proceedings; and

           5.      Awarding such other and further relief this Court deems just and proper.



    March 25, 2024

                                                 /s/ John Scarola
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                                                 FLORIDA BAR NO. 169440
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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing document was filed with the Clerk of the Court
   using CM/ECF on this 25th day of March 2024. I also certify that the foregoing document is being
   served this day on all counsel of record registered to receive electronic Notices of Electronic Filing
   generated by CM/ECF.
                                                         /s/ John Scarola




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